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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

 Monica Abboud,                                    §
                                                   §
 Plaintiff,                                        §
                                                   §
 v.                                                §
                                                   §   CIVIL ACTION NO. 3:19-cv-00120-K
 Agentra LLC                                       §
                                                   §
 Defendant.                                        §
                                                   §
                                                   §
                                                   §

                     NOTICE OF APPEARANCE OF ADDITIONAL COUNSEL

        I, Brooke F Cohen, located at 4334 University Blvd., Dallas, Texas 75205, hereby make
his formal entry of appearance in the above-styled and numbered cause as

additional counsel for Plaintiff Monica Abboud.


                                             Respectfully submitted,


                                              /s/ Brooke F. Cohen
                                             Brooke F. Cohen
                                             State Bar No. 24007019
                                             brookefcohen@gmail.com

                                             4334 University Boulevard
                                             Dallas, TX 75205
                                             (214)384-0537
                                             ATTONEY FOR. PLAINTIFF MONICA
                                             ABBOUD

                                     CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the foregoing document was served on
counsel for all parties via the Court’s ECF system on this the 22nd day of January, 2019.

                                             /s/ Brooke F. Cohen
                                             Brooke F. Cohen


NOTICE OF APPEARANCE OF ADDITIONAL COUNSEL                                                 Page 1
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